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 1   RICHARD A. WRIGHT, ESQUIRE
     Nevada Bar No. 886
 2   WRIGHT STANISH & WINCKLER
     300 S. Fourth Street
 3   Suite 701
     Las Vegas, NV 89101
 4   Telephone: (702) 382-4004
     Facsimile: (702) 382-4800
 5   Attorney for Taylor Fairchild
 6
                                  UNITED STATES DISTRICT COURT
 7
                                         DISTRICT OF NEVADA
 8
 9   UNITED STATES OF AMERICA,           )
                                         )                Case No. 2:12-cr-00004-APG-GWF
10         Plaintiff,                    )
                                         )
11                 vs.                   )
                                         )
12   JORDAN GEORGIEVSKI,                 )
                                         )
13         Defendant.                    )
     ____________________________________)
14
15                             STIPULATION FOR EXTENSION OF TIME
16          IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bodgen, United
17   States of Attorney, and Kimberly M. Frayn, Assistant United States Attorney, counsel for the United
18   States of America, and Richard A. Wright, Esquire, Wright Stanish & Winckler, counsel for
19   Defendant, that the date for the Defendant to file a response to the Government’s Sealed Motion to
20   Disqualify Defense Counsel (Docket #928) be extended one (1) week, until March 18, 2015.
21          This stipulation is entered for the following reasons:
22          1.      On February 25, 2015, the government filed a Sealed Motion to Disqualify Defense
23   Counsel (#928), asking to disqualify Defendant Georgievski’s counsel, Richard A. Wright.
24          2.      On February 26, 2015, the Court entered a Minute Order (Docket #929), setting this
25   motion for a hearing on March 30, 2015, at 9:30 a.m.
26          3.      The defendant requires additional time to prepare a response to the Motion to
27   Disqualify Counsel. The Defendant requests until March 18, 2015, which will not delay the
28   scheduled hearing date.
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 1          4.      The Government agrees to the proposed extension of time, and requests one (1) week,
 2   until March 25, 2015, to file any reply.
 3          5.      The additional time requested herein in not sought for purposes of delay, but merely
 4   to allow counsel for the Defendant adequate time to prepare a response. Additionally, denial of this
 5   request for continuance could result in a miscarriage of justice.
 6          6.      This is the first stipulation filed herein to continue the Defendant’s response deadline.
 7          Dated: March 13, 2015.
 8   DANIEL G. BOGDEN                                       WRIGHT STANISH & WINCKLER
     UNITED STATES ATTORNEY
 9
10   BY /s/ Jonathan A. Ophardt                             BY      /s/ Richard A. Wright
       KIMBERLY M. FRAYN                                         RICHARD A. WRIGHT, ESQUIRE
11     ANDREW W. DUNCAN                                          300 S. Fourth Street
       Assistant United States Attorneys                         Suite 701
12     JONATHAN A. OPHARDT                                       Las Vegas, NV 89101
       Trial Attorney                                            Attorney for Jordan Georgievski
13     333 Las Vegas Boulevard South
       Suite 5000
14     Las Vegas, NV 89101
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 1
 2
                                                ORDER
 3
 4          Based on the pending Stipulation of counsel, and good cause appearing therefore,
 5          IT IS HEREBY ORDERED that the response deadline for Defendant Georgievski to respond
 6   to Government’s Motion to Disqualify Defense Counsel (Docket #928) is extended until March 18,
 7   2015. The Government’s reply, if any, is due within seven (7) days after the filing of the
 8   Defendant’s Response.
 9          DATED this 16th            March
                       ____ day of _______________, 2015.
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11                                              _____________________________________________
                                                GEORGE W. FOLEY, JR.
12                                              UNITED STATES MAGISTRATE JUDGE
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